        Case 2:07-cr-00289-MCE Document 6 Filed 07/03/07 Page 1 of 3




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 7                            UNITED STATES DISTRICT COURT

 8                           EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,

11             Plaintiff,

12                   v.                           CR. NO. S-07-165 LKK

13   JESUS FERNANDO VEGA,
     LUIS MANUEL SANCHEZ-ACEVES,
14   and CRISTOBAL L. NAVARRO,

15             Defendants.
                                          /
16   UNITED STATES OF AMERICA,

17             Plaintiff,

18                   v.                           CR. NO. S-07-170 LKK

19   RITO BELTRAN-LEON,
     RENE BELTRAN-LEON, and
20   JUAN CAMACHO,
                                                  RELATED CASE ORDER
21             Defendants.
                                          /
22   UNITED STATES OF AMERICA,

23             Plaintiff,

24                   v.                           CR. NO. S-07-189 LKK

25   JOSE MARIA MEZA PORTILLO,

26             Defendant.
                                          /
         Case 2:07-cr-00289-MCE Document 6 Filed 07/03/07 Page 2 of 3




 1   UNITED STATES OF AMERICA,

 2               Plaintiff,

 3                    v.                           CR. NO. S-07-289 MCE

 4   EDI CAMACHO, aka "Pariente,"
     MISAEL CAMACHO, aka "Primo,"
 5   JUAN CAMACHO, aka "Bocho,"

 6               Defendants.
                                         /
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 8        Examination of the above-entitled criminal actions reveals

 9   that the actions are related within the meaning of Local Rule 83-

10   123, E.D. Cal. (1997).     For the reasons set forth in the

11   government's Notice of Related Cases, the assignment of the matters

12   to the same judge is likely to effect a substantial savings of

13   judicial effort and is also likely to be convenient for the

14   parties.

15        The parties should be aware that relating the cases under

16   Local Rules 83-123 merely has the result that the actions are

17   assigned to the same judge; no consolidation of the actions is

18   effected.   Under the regular practice of this court, related cases

19   are generally assigned to the judge to whom the first filed action

20   was assigned.

21        IT IS THEREFORE ORDERED that the action denominated CR. NO.

22   S-07-289 MCE be, and the same hereby is, reassigned to Judge

23   Lawrence K. Karlton for all further proceedings.          Henceforth the

24   caption on all documents filed in the reassigned case shall be

25   shown as CR. NO. S-07-289 LKK.

26        IT IS FURTHER ORDERED that the Clerk of the Court make

                                         2
        Case 2:07-cr-00289-MCE Document 6 Filed 07/03/07 Page 3 of 3




 1   appropriate adjustment in the assignment of criminal cases to

 2   compensate for this reassignment.

 3        DATED:   July 3, 2007.

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